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                                                                  June 28, 2018

VIA CERTIFIED MAIL                                                                    FILED IN CLERK'S OFFICE
                                                                                           U.S.D.C, - Atlanta
RETURN RECEIPT REQUESTED

Mr. Gary Edwin Sharp II                                                                   JU     2 9 2018
8B Krzak Road N.                                                                    JA , i S N. HATTEN, Clerk
Kingstown, RI 02852                                                                 By:
                                                                                                     Deputy Clerk
Subject:          Voluntary Surrender/Reporting Information
                  Reg. No, 66179-019 No. 1:14-cr-227-3-TCB and 1:14-cr-229-1-TCB

Dear Mr. Sharp:

Pursuant to the sentence you received in federal court in the Northern District of Georgia, you are
hereby directed to report to the following institution to begin service of your federal sentence.

                         INSTITUTION:             MDC Brooklyn
                                                  80 29th Street
                                                  Brooklyn, NY 11232

                         TELEPHONE NO.:           718-840-4200

                         REPORT DATE:             NOON, July 10, 2018

Any further inquiries should be directed to the institution at the telephone number listed above.

                                                  Respectfully,

                                                  Beverly Harvard
                                                  United States Marshal


                                                       reeman
                                                    riminal Section

cc:
Clerk of Court
Pretrial Services
U.S. Probation Office
